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                  UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF TEXAS
                         WACO DIVISION
NATIONAL STEEL CAR LIMITED                §
                                          §    CIVIL NO:
vs.                                       §    WA:19-CV-00721-ADA
                                          §
THE GREENBRIER COMPANIES, INC.            §

               ORDER SETTING MARKMAN HEARING
        IT IS HEREBY ORDERED that the above entitled and numbered case is set for
MARKMAN HEARING in Courtroom 5, on the Sixth Floor, United States Courthouse, 501
West Fifth Street, Austin, TX, on Friday, October 09, 2020 at 01:30 PM.

       IT IS SO ORDERED this 27th day of March, 2020.




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                                          ALAN D ALBRIGHT
                                          UNITED STATES DISTRICT JUDGE
